                 Case 2:20-cv-04202-GW-AGR Document 21 Filed 11/05/20 Page 1 of 1 Page ID #:136



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                   8                                UNITED STATES DISTRICT COURT
                   9           CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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                  11   MELANIE REIS,                               Case No. CV 20-4202-GW-AGRx
                  12                           Plaintiff,          ORDER RE: STIPULATION TO
                                                                   DISMISS ENTIRE ACTION WITH
                  13   v.                                          PREJUDICE
                  14   LIFE INSURANCE COMPANY OF
                       NORTH AMERICA; and DOES 1
                  15   through 10, inclusive,                      Honorable George H. Wu
                  16                           Defendants.
                  17
                  18            Upon consideration of the Parties’ Stipulation, and good cause appearing, IT
                  19   IS HEREBY ORDERED that this action is dismissed in its entirety with prejudice
                  20   as to all parties. Each party is to bear their own attorneys’ fees and costs.
                  21            IT IS SO ORDERED.
                  22
                  23   Dated: November 5, 2020                  By:
                                                                      Honorable George H. Wu
                  24                                                  United States District Judge
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B URKE , W ILL                                                                       CASE NO. 2:20-cv-04202 GW (AGRx)
   S ORENSEN ,
  ATTORNEYS A
                       LA #4842-1192-8528 v1                     -1-        ORDER RE STIPULATION TO DISMISS ENTIRE
     LOS ANGEL                                                                              ACTION WITH PREJUDICE
